     Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 1 of 10 Page ID #:38




 1    TRACY L. WILKISON
      Acting United States Attorney
 2    CHRISTOPHER D. GRIGG                                           FILED
                                                           CLERK U.S. DISTRICT COURT
      Assistant United States Attorney
 3    Chief, National Security Division
      PAUL C. LeBLANC (Cal. Bar No, 319862)                    ~f(~N
 4    Assistant United States Attorneys
      Terrorism and Export Crimes Section
                                                         CENTRAL ISTRICTOFCALIFORNIA
 5         8000 United States Courthouse                 BY                  DEPU
           411 West Fourth Street
 6         Santa Ana, California 92701
           Telephone: (714) 338-3537/3591
 7         Facsimile: (714) 338-3708/3561
           Email:     paul.leblanc@usdoj.gov
 8
      Attorneys for Plaintiff
 9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12                                 SOUTHERN DIVISION

13    UNITED STATES OF AMERICA,              No. 21-MJ-415

14              Plaintiff,                   GOVERNMENT'S REQUEST TO SUBMITT
                                             EXHIBITS FOR THE COURT'S
15                    v.                     CONSIDERATION IN DEFENDANT'S BOND
                                             REVIEW: EXHIBITS
16    RUSSELL TAYLOR,
                                             Hearing Date: JUNE 11, 2021
17              Defendant.                   Hearing Time: 2:00 PM

18

19         Plaintiff United States of America, by and through its counsel

20   of record, the Acting United States Attorney for the Central District

21   of California and undersigned counsel, hereby files these exhibits

22   for the Court's consideration in defendant's Application for Bond.

23   This Response is based on the attached Memorandum of Points and

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     Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 2 of 10 Page ID #:39




 1    Authorities, the files and records in this case, and any additional

 2   evidence and argument that the Court receives at the hearing on this

 3   matter.

 4    Dated: June 11, 2021               Respectfully submitted,

 5                                       TRACY L. WILKISON
                                         Acting United States Attorney
 6
                                         CHRISTOPHER D. GRIGG
 7                                       Assistant United States Attorney
                                         Chief, National Security Division
 8

 9                                             /s/
                                         PAUL C. LeBLANC
10                                       Assistant United States Attorney

11                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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     Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 3 of 10 Page ID #:40




 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.    INTRODUCTION

 3          Defendant RUSSELL TAYLOR (~~defendant") surrendered to FBI agents

 4    on June 10, 2021 as a result of an arrest warrant issued by the

 5    District of Columbia District Court.      Defendant makes his first

 6    appearance on June 11, 2021.     Defendant's counsel indicated that he

 7    will request bond.     For the reasons described more fully below,

 8    defendant continues to present a clear danger to the community.

 9    II.   LEGAL STANDARD

10          The Bail Reform Act of 1984 (the "Act") permits pretrial

11    detention of a defendant without bail where "no condition or

12    combination of conditions will reasonably assure the appearance of

13   the person as required and the safety of any other person and the

14   community."    18 U.S.C. ~ 3142(e).     Detention is appropriate where a

15   defendant is either a danger to the community or a flight risk; it is

16    not necessary to prove both.     United States v. Motamedi, 767 F.2d

17   1403, 1406 (9th Cir. 1985).      A finding that a defendant is a danger

18   to the community must be supported by clear and convincing evidence.

19   18 U.S.C. ~ 3142(f).     A finding that a defendant is a flight risk

20    need only be supported by a preponderance of the evidence.         Motamedi,

21   767 F.2d at 1406.

22          In this case, the government's position is that defendant is a

23   danger to the community.      Defendant's conduct is clearly laid out in

24   the indictment.     The government proffers Attachments 1 and 2 in

25   addition to the indictment.

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     Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 4 of 10 Page ID #:41




 1   III. EXHIBITS

 2           Exhibit 1 are photographs retrieved from defendant's cellular

 3    phone as a result of an FBI search warrant executed in late January

 4   2021.

 5           The first photograph shows a message from defendant to others,

 6   including his co-conspirators, regarding the events that occurred in

 7   Washington, D.0 around January 6, 2021.       This photograph is described

 8   in paragraph 39 of the indictment.

 9         The second item is a chat message used under defendant's alias,

10   "Porter RockQwell" claiming to be a "fighter" and inquiring to the

11   group about bringing weapons and "plates" to the Capitol.         This

12   photograph is referenced in paragraph 40 of the indictment.

13         The third photo was taken from defendant's cell phone, sent to

14   via an encrypted app, laying out the gear and weapons defendant took

15   with him to Washington, D.C.      The photo depicts, among other things,

16   a tactical helmet, a bulletproof vest, two hatchets, a foldable knife

17   and a communications radio.      This photograph is referenced in

18   paragraph 57 of the indictment.

19         The fourth photograph shows defendant in a line of rioters,

20   pushing against Capitol Police officers on a terrace located on the

21   Capitol building.     This photograph is described in paragraph 56 of

22   the indictment.     This photograph is described in paragraph 65 of the

23   indictment.

24         The fifth photograph shows defendant with indicted co-

25   conspirator, Russell Taylor.      Defendant is wearing what appears to be

26   the tactical vest, and carrying the knife described above and

27   standing on a terrace of the Capitol building looking west towards

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     Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 5 of 10 Page ID #:42




 1    the rioters.   This photograph is described in paragraph 71 of the

 2    indictment.

 3         Exhibit 2, filed manually with the Court, is a video taken

 4    during the Capitol riots.     In the video, defendant is heard screaming

 5   "move forward, move forward, move forward Americans."         The video

 6   shows a point of view looking out on the rioters as they physically

 7   breach a line of police officers and move towards the capitol.

 8   IV.   CONCLUSION

 9         For the foregoing reasons, the government respectfully requests

10   that the Court consider Exhibits 1 and 2.

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Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 6 of 10 Page ID #:43




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         This group will serve as the Comms for able bodied
         individuals that are going to DC on Jan 6. Many of
         us have not met before and we are all ready and
         willing to fight. We will come together for this
         moment that we are called upon.



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Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 7 of 10 Page ID #:44




This is one of the first messages Taylor posted to the DC Brigade chat when he started the group. His
moniker on Telegram is "Porter RockQwell." This was taken from Taylor's phone, searched by the FBI
pursuant to a search warrant.




                                                                                         EXHIBIT 1
                                                                                        Page 2 of 5
Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 8 of 10 Page ID #:45




This is a photo found on Taylor's phone from January 5, 2021. He sent this to someone at on tan 5 at
11:29 pm over Signal (an encrypted messaging app) with the message,"Now getting ready for
tomorrow." Photo obtained during FBI search warrant of Taylor's phone.




                                                                                          EXHIBIT 1
                                                                                         Page 3 of 5
   Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 9 of 10 Page ID #:46




This is a photo of Taylor joining a crowd of other rioters to push against a group of officers trying to hold
the riots back from accessing stairs to the Upper West Terrace of the Capitol. Shortly after this, the
rioters overcame the officers, who retreated into the plaza area on the far R of this photo. The officers
pepper sprayed the rioters on the stairs (including Taylor), but that only briefly deterred them from
accessing the stairs and the Upper West Terrace.




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                                                                                                  EXHIBIT 1
                                                                                                 Page 4 of 5
Case 8:21-mj-00415-DUTY Document 9 Filed 06/11/21 Page 10 of 10 Page ID #:47




 This photo of Taylor (with Hostetter) was taken on the Upper West Terrace of the Capitol. The handle of
 a knife, which matches the knife handle in the "getting ready" photo, is visibly sticking out of the front
 chest pocket of Taylor's plate carrier vest. (Hostetter posted this photo and message on Instagram.)


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    a mericanphoenixproject Thank you for your prayers and
    concern. Myself, @russ.taytor and @mortonirv~nesmith are
    safe. We did our part. We are proud of our fellow patriots,
    our President and our great country. This was the "shot
    heard 'round the world!„ the 2021 version of 1776. That
    war lasted 8 years. We are dust getting warmed up. Much
    like FAUX News reporting tonight, the British joumal~sts
    and the Redcoats of the 1770s claimed the Tea Party was a
    mob. Patriots will prevail!




                                                                                           EXHIBIT 1
                                                                                          Page 5 of 5
